                             No. 25-1153


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FOURTH CIRCUIT


                          CASA, INC., et al.,

                                         Plaintiffs-Appellees,

                                   v.

       DONALD J. TRUMP, In his official capacity as President
of the United States, c/o Attorney General of the United States, et al.,

                                         Defendants-Appellants.


          On Appeal from the United States District Court
                  for the District of Maryland


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                              INTRODUCTION

      The Citizenship Clause of the Fourteenth Amendment “rightly

repudiated” the Supreme Court’s “shameful decision in Dred Scott v.

Sandford, 60 U.S. (19 How.) 393 (1857), which misinterpreted the

Constitution as permanently excluding people of African descent from

eligibility for United States citizenship solely based on their race.” A4.

Rectifying that injustice to the recently freed slaves, all agree, was the

principal purpose of the Citizenship Clause. Nothing in the Clause’s text

or historical context supports the conclusion that it also extended

citizenship to birth tourists and other transient visitors or those who enter

the country in violation of our laws.

      On the contrary, the text makes clear that to qualify for birthright

citizenship, an individual must be not only born in the United States, but

also “subject to the jurisdiction thereof”—an independent requirement that

the Supreme Court has held excludes those who are not “completely

subject to the political jurisdiction of the country.” United States v. Wong

Kim Ark, 169 U.S. 649, 693 (1898). The children of aliens whose presence

here is temporary or unlawful do not meet this requirement because they

lack the requisite connection and allegiance to the United States.
      A country has complete political jurisdiction over individuals who

owe it sufficient allegiance, such as children of citizens and aliens lawfully

“domiciled here,” id., but not over those who owe only the lesser allegiance

of merely obeying the law, such as children of tribal Indians, Elk v. Wilkins,

112 U.S. 94, 102 (1884). This distinction reflects principles that were well

recognized at the time the Fourteenth Amendment was ratified, when

domicile was understood to confer a more substantial allegiance than mere

presence, a type of allegiance akin to citizenship that subjected an

individual to the complete jurisdiction of the country of domicile with

corresponding rights and reciprocal duties. Children of aliens here

temporarily or illegally, whose only allegiance is the duty to obey the laws

while they are here, lack sufficient allegiance to come within the United

States’ complete political jurisdiction. This historically grounded

explanation reconciles the Supreme Court’s cases and explains the

substantial focus on domicile in the debates leading up to the Citizenship

Clause and the legal scholarship and Executive Branch practice in the years

thereafter.

      Plaintiffs offer no interpretation of the Citizenship Clause that

explains that history or reconciles the Supreme Court’s decisions in Elk and
                                       2
Wong Kim Ark. They argue that “subject to the jurisdiction thereof” refers

only to regulatory jurisdiction (the ability to impose laws regulating

individuals). This theory cannot explain Elk because Congress clearly had

authority to regulate tribal Indians (even if Congress did not fully exercise

that authority). Plaintiffs’ only response is to call Elk “irrelevant” because

it focused on “Indian tribes.” Br. 37-38. But plaintiffs’ attempt to argue

that “jurisdiction” means something other than regulatory jurisdiction for

Indians but regulatory jurisdiction for everyone else disregards the

Clause’s historical context and lacks any textual support. As they

acknowledge (at 31), the debates over the Clause considered the status of

tribal Indians at length. See also, e.g., Kurt T. Lash, Prima Facie Citizenship

45-54 (rev. Apr. 17, 2025), https://perma.cc/ARN2-5CSJ. In crafting the

Citizenship Clause, Congress eschewed the Indian-specific language of the

Civil Rights Act of 1866 and adopted a general test for all persons born in

the United States. But plaintiffs offer no such general test.

      Text and historical context thus confirm that the Executive Order’s

interpretation of the Citizenship Clause is correct, and the preliminary

injunction should be reversed.



                                        3
                                 ARGUMENT

   I.     Plaintiffs Are Not Likely to Succeed on the Merits.

        The Civil Rights Act of 1866 and the Citizenship Clause of the

Fourteenth Amendment repudiated Dred Scott and confirmed that freed

slaves and their children were citizens of the United States. Plaintiffs’

efforts to paint this case as a modern-day analogue to that odious decision

are mistaken. No one disputes that Dred Scott is deservedly overruled—or

that fixing the citizenship status of freed slaves and their children was the

central purpose of the Citizenship Clause. But nothing about the historical

context of the Citizenship Clause suggests that it extended to the children

of foreigners who freely choose to enter the country illegally. The history

of the Clause’s adoption is entirely devoid of concern for such illegal aliens,

a group that did not yet exist given the absence of federal immigration

restrictions. Instead, Congress chose language that would encompass freed

slaves but still limited citizenship to individuals who are completely

subject to the political jurisdiction of the United States—a category that

excludes transient visitors and illegal aliens.




                                       4
      A. Political Jurisdiction Is Not Merely Regulatory
         Jurisdiction.

      All agree that the phrase “subject to the jurisdiction thereof” in the

Citizenship Clause excludes the U.S.-born children of (1) foreign

ambassadors, (2) persons on foreign public ships, (3) invading armies, and

(4) members of Indian tribes. These exceptions share a single common

feature: the child’s parents do not fall within the “political jurisdiction” of

the United States because they lack sufficient allegiance to the United States

and owe primary allegiance to another sovereign. Elk v. Wilkins, 112 U.S.

94, 102 (1884). That understanding of the Clause squares with its text,

history, and the Supreme Court’s precedents.

      Plaintiffs, by contrast, press the view that “jurisdiction” encompasses

all persons subject to the United States’ “power or right of exercising

authority.” Br. 18 (quotation omitted). That view cannot explain the long-

recognized exceptions to the Citizenship Clause. The United States plainly

has the power to exercise authority over the categories of persons long

understood to be excluded from the Clause. See Gov’t Br. 17-19. Indian

tribes are an especially powerful example. It was well settled when the

Citizenship Clause was ratified that the United States could exercise


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regulatory power over Indian tribes. See, e.g., United States ex rel. Mackey v.

Coxe, 59 U.S. (18 How.) 100, 104 (1855) (“Cherokee country … is within our

jurisdiction and subject to our laws.”); United States v. Rogers, 45 U.S. (4

How.) 567, 572 (1846); see Lash, supra, at 23-24.

      The Congressional debates preceding the Clause reflected that

understanding: multiple Senators recognized that Indian tribes were

subject to congressional regulation. See Cong. Globe, 39th Cong., 1st Sess.

2893 (1866) (Senator Johnson stating that “the courts would have no doubt”

about Congress’s “authority to legislate” with respect to Indian tribes); id.

at 2892 (Senator Doolittle stating that there were many Indians who were

subject to U.S. regulatory jurisdiction “who ought not to be included as

citizens”). As Senator (and former Attorney General) Reverdy Johnson

observed, the few contrary statements during the debate (which plaintiffs

quote, Br. 31-32) conflated “the authority to legislate” with the extent to

which Congress had actually legislated.1 See Cong. Globe, 39th Cong., 1st

Sess. 2893.



      1 Plaintiffs’ assertion (at 31) that the debates did not focus on

“allegiance,” is clearly belied by the Congressional Globe, 39th Cong., 1st
Sess. 2893 (“What do we mean by ‘subject to the jurisdiction of the United
                                                              Continued on next page.
                                        6
      Plaintiffs rely on an 1870 Senate Committee report (at 26-27) which

similarly conflates having authority with exercising that authority. Both

tribal Indians and temporary sojourners were within the United States’

regulatory authority, but the U.S. exercised complete authority over neither

group. See infra pp. 13-15. To the extent the committee’s report could be

read to suggest a lack of authority over Indians, it would conflict with the

congressional debates just discussed; with Congress’s passage the

following year of a statute declaring that it would no longer recognize

Indian tribes as “independent nation[s], tribe[s], or power[s] with whom

the United States may contract by treaty,” Act of Mar. 3, 1871, ch. 120, 16

Stat. 544, 566; and with the Supreme Court’s reasoning in Elk, which

explained that children of tribal Indians were not made citizens by the

Fourteenth Amendment, even though the United States could “deal” with

Indian tribes “through acts of Congress in the ordinary forms of

legislation,” 112 U.S. at 99.

      Finally, plaintiffs argue (at 40) that even if regulatory jurisdiction

cannot explain Elk’s holding that all tribal Indians are outside the



States?’ Not owing allegiance to anybody else. That is what it means.”).
See id. at 2895-96.
                                    7
Citizenship Clause, regulatory jurisdiction could explain the lack of

citizenship for the subset of tribes that the United States allowed, by treaty,

to exercise their own regulatory jurisdiction or that were beyond the

practical reach of the United States. But a partial explanation only

underscores the incompatibility of their interpretation with binding

Supreme Court precedent. Moreover, waiving regulatory jurisdiction in

some treaties reinforces that the United States had regulatory jurisdiction

absent a treaty.

      “Jurisdiction” in the Citizenship Clause cannot mean the bare power

to regulate or enforce federal law. It requires something more.

      B. Political Jurisdiction Is Formed by Establishing Domicile,
         Which Entails a Greater Degree of Allegiance.

      1. “The evident meaning” of the phrase subject to the jurisdiction

thereof, the Supreme Court has explained, “is, not merely subject in some

respect or degree to the jurisdiction of the United States, but completely

subject to their political jurisdiction, and owing them direct and immediate

allegiance.” Elk, 112 U.S. at 102; accord Wong Kim Ark, 169 U.S. at 693. The

United States exercised less jurisdiction over nondomiciled aliens because

of those aliens’ primary allegiance to a different sovereign.


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       The nineteenth-century legal community understood the important

relationships between domicile and the concepts of allegiance, jurisdiction,

and citizenship. Aliens who had established domicile developed a degree

of “allegiance to the country, very different from a mere obedience to its

laws during a temporary residence.” Hodgson v. De Beauchesne [1858] 14

Eng. Rep. 920, 932 (Privy Council); see Joseph Story, Commentaries on the

Conflict of Laws, Foreign and Domestic § 49a, at 48 (6th ed. 1865) (discussing

Hodgson as a “very extensiv[e] and learne[d] discuss[ion]” by “counsel of

great eminence” and a “judge of very great learning”). Domiciled aliens

“acquire rights and must discharge duties in many respects the same as

possessed by and imposed upon the citizens of that country.” Lau Ow Bew

v. United States, 144 U.S. 47, 62 (1892); Fong Yue Ting v. United States, 149

U.S. 698, 734 (1893) (Brewer, J., dissenting) (similar). And unlike

temporarily present aliens—whose obligation to, and protection by, the

United States ends upon departure—domiciled aliens could call on the

United States for diplomatic protection abroad. Fong Yue Ting, 149 U.S. at

724.

       Wong Kim Ark reflects the significance of this concept. The Supreme

Court repeatedly emphasized that Wong’s parents, though “subjects of the
                                        9
Emperor of China,” had “a permanent domicil and residence in the United

States.” 169 U.S. at 653; accord id. at 652, 693, 696, 705. Indeed, the Court’s

paragraph announcing its “conclusions” from its analysis of the common

law and other antecedents, id. at 693-94, underscores the importance of

domicile: “Every citizen or subject of another country, while domiciled here,

is within the allegiance and the protection, and consequently subject to the

jurisdiction, of the United States,” and thus that the Citizenship Clause

“includes the children born within the territory of the United States of all

other persons … domiciled within the United States.” Id. at 693 (emphases

added). And echoing the language of Elk, the Court concluded by noting

that those domiciled here are “completely subject to the political

jurisdiction” of the United States by comparing them to those temporarily

present: “seeing that” even a temporary visitor to “the dominions of a

foreign government” has a duty of “obedience to the laws of that

government” during his presence “independently” of any “domiciliation,”

the Court explained that it “can hardly be denied that an alien is completely

subject to the political jurisdiction of the country in which he resides.” Id.

at 693-94 (emphases added) (quotation omitted); see M.W. Jacobs, A Treatise

on the Law of Domicil § 75, at 123 & n.2 (1887) (collecting cases equating
                                       10
residence and domicile); 2 James Kent, Commentaries on American Law 576

n.(c) (10th ed. 1860) (similar).

      Plaintiffs dismiss these statements as neither “central” nor “relevant”

“to the holding.” Br. 44. But it is difficult to understand why the Court

would have repeatedly included domicile in announcing its holding if that

status was irrelevant. And it is all the more improbable given the dispute

before the Court, as the parties briefed the case with contemporaneous

principles of domicile in mind. The government, addressing the holding in

Benny v. O’Brien, 32 A. 696 (N.J. 1895), that citizenship did not extend to

those “temporarily traveling here,” argued that all Chinese aliens were here

temporarily, Brief for the United States at 26 (No. 132) (U.S. Jan. 13, 1897),

and that Wong’s parents were “temporary sojourners,” Reply Brief for the

United States at 7 (No. 132) (U.S. Mar. 3, 1897). Wong’s lawyers submitted

separate briefs expressly addressing domicile. One brief repeatedly

invoked domicile to explain why Wong’s father was “subject to the

jurisdiction” of the United States, contending that Wong’s father “could

have been … drafted into the armies of the United States” as an

“obligation[] ordinarily incident to [a] foreign domicile” and (citing Fong

Yue Ting) that Wong’s father could “invoke” the United States’ “protection
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against the country of his origin.” Brief of the Appellee at 22-23, 26-27 (No.

132) (Feb. 27, 1897) (quotation omitted). The other brief responded to the

government’s position by arguing that temporary presence was sufficient

for citizenship and devoted an entire section to the assertion that an

individual’s “citizenship” did not “depend … upon the ‘domicile’ of their

parents.” Brief for the Appellee 87-89 (No. 132) (Mar. 3, 1897).

      Against this background, the Supreme Court’s repeated emphasis on

domicile in crafting both the question presented and its holding is properly

understood as reflecting the limits of the Court’s holding, not a mere

description of the facts or rejection of the relevance of domicile and

allegiance. And these points illustrate why in the years after Wong Kim Ark,

Executive Branch practice and scholarly commentators recognized that

children of nondomiciled aliens were not citizens at birth. Gov’t Br. 31-33,

46-47. Indeed, the State Department official whom plaintiffs rely upon

acknowledged the consensus of treatise-writers that “in order that a person

born in the United States of alien parents may have American citizenship,

his parents must have been domiciled in this country at the time of his

birth,” and admits that Wong Kim Ark “did not directly decide the precise



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point” because the “parents were domiciled in the United States.” Richard

W. Flournoy, Dual Nationality and Election, 30 Yale L.J. 545, 552 (1921).

      2. Domicile was “one of the fundamental considerations in

controversies over citizenship” because it was “so closely related to matters

of civil jurisdiction.” Frederick A. Cleveland, American Citizenship as

Distinguished from Alien Status 35 (1927). As a matter of comity, the nation

where an individual was domiciled had jurisdiction to determine the

“numerous civil rights of the person.” 1 William Burge, Commentaries on

Colonial and Foreign Laws 32 (1838); accord, e.g., Coddington v. Coddington, 20

N.J. Eq. 263, 264 (Ch. 1869) (explaining that it was “well settled” that the

government of a person’s domicile “regulated” “the positive and relative

status of [the] person”); see Story, supra, § 51, at 53; Henry Wheaton,

Elements of International Law § 84, at 141 (Richard Henry Dana, Jr. ed., 1866).

      It was this relationship between domicile and jurisdiction over

personal or civil rights that caused treatise writers to describe domicile as

“the foundation of jurisdiction over persons” “under the Law of Nations,”

1 Travers Twiss, The Law of Nations Considered as Independent Political

Communities § 164, at 239 (1st ed. 1861), and a “caus[e] which subject[s] the

individual to the jurisdiction of a particular territory,” 4 Robert Phillimore,
                                       13
Commentaries Upon International Law 32 (2d ed. 1874); see Cleveland, supra,

at 34 (“In dealing with domicil we are dealing with the question of

jurisdiction—the right of the government to exercise control over the social

population, and the rights of individuals to claim protection or to enjoy the

benefits which are attached to residence.”); Francis Wharton, A Treatise on

the Conflict of Laws § 708 (1872) (“Domicil, of course, implies a voluntary

submission to the local law, and invests the courts of the domicil with

jurisdiction over the party thus domiciled.”).

      The United States thus yielded to the government of an alien’s

domicile to determine whether the alien was a minor, Story, supra, § 66, at

71; the rights of married women, id. § 66a, at 72; the rules of inheritance for

personal property, Wheaton, supra, § 83, at 140; the forum to administer

divorces, Coddington, 20 N.J. Eq. at 264, and insolvency proceedings, Jacobs,

supra, § 47, at 80 n.3; and to subject an individual to conscription, H.W.

Halleck, International Law 385 (1861), or tax worldwide income, 2 John

Bassett Moore, A Digest of International Law § 183, at 59-61 (1906). See also

Ilan Wurman, Jurisdiction and Citizenship 80-84 (rev. Apr. 21, 2025),

https://perma.cc/5DFJ-Z9BN; id. at 81 & n.413. Consequently, alien

visitors were only “subject to the jurisdiction of the State when in foreign
                                      14
territory in a much-qualified sense.” Alexander Porter Morse, The Citizen

in Relation to the State 10-11 (1884).

      C. The Citizenship Clause Adapted the Common Law to
         American Views, Departing from the English Rule.

      Plaintiffs attempt to draw support from English common law and

early American sources, but these cannot overcome the Citizenship Clause

itself. The Constitution “did not purport to take English law or history

wholesale and silently download it into” American law. United States v.

Rahimi, 602 U.S. 680, 722 n.3 (2024) (Kavanaugh, J., concurring). While the

English common law regarded children even of transients as citizens at

birth, there is no dispute that the Citizenship Clause departed from English

common law in some respects. As early as the 1820s, American courts

rejected the suggestion that members of Indian tribes were born citizens,

even though they satisfied the English common-law rule. When the New

York Supreme Court of Judicature applied the English common-law rule to

conclude that tribal Indians were “born in allegiance to the government of

this state, for [New York’s] jurisdiction extends to every part of the state;

they receive protection from [New York], and are subject to [New York’s]

laws,” Jackson ex dem. Smith v. Goodell, 20 Johns. 188, 192-93 (N.Y. Sup. Ct.


                                         15
1822), Chancellor Kent reversed its decision because Indians had “never

been regarded as citizens or members of [New York’s] body politic,”

Goodell v. Jackson ex dem. Smith, 20 Johns. 693, 710 (N.Y. 1823); see Gregory

Ablavsky, “With the Indian Tribes”: Race, Citizenship, and Original

Constitutional Meanings, 70 Stan. L. Rev. 1025, 1056 (2018) (stating that

“Indians were described as subjects” of the King “by both British officials

and Native peoples themselves”); Relations of Indians to Citizenship, 7 Op.

Att’y Gen. 746, 749 (1856) (concluding that Indians were not citizens even

though they are “in our allegiance” in a more limited sense of the term).

      Moreover, as noted, Justice Story explained that citizenship at birth

required more than temporary physical presence. Story, supra, § 48, at 46.

The plaintiffs (at 42) suggest that Story’s statement is undermined because

he followed it with an acknowledgment that this idea was not “universally

established,” Story, supra, § 48, at 46. But given that the treatise covered

both American and English law, see id. at xi-xiii, Story’s qualification is

merely evidence of how American views had begun to differ from the strict

English rule. Story’s view of citizenship requiring more than temporary

presence was also shared by other American authorities. See 1 Henry St.



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George Tucker, Commentaries on the Laws of Virginia bk. I, at 56 (3d ed. 1846)

(describing the conclusion as “sufficiently obvious”).

      Importantly, by Reconstruction, the Republicans championing the

Civil Rights Act of 1866 and the Citizenship Clause had adopted this

American position. In 1858, Representative Philemon Bliss gave a floor

speech criticizing Dred Scott—later reprinted as a pamphlet—where he

explained “[t]he few exceptions” to citizenship at birth as “children of

foreign ministers or temporary sojourners.” Cong. Globe, 35th Cong. 1st

Sess. 210 (1858); Philemon Bliss, Citizenship 3 (1858). Prominent Civil War

Republican lawyer David Dudley Field led a New York commission to

codify laws that in 1860 proposed a citizenship provision that excluded

“the children of transient aliens and of alien public ministers and consuls.”

Comm’rs of the Code, The Political Code of the State of New York § 5(1) (1860).

Representative Bingham and Senator Trumbull—sponsors of the

Fourteenth Amendment—both emphasized the importance of domicile to

citizenship at birth. See Lash, supra, at 18 (noting speech by Representative

Bingham declaring that “all free persons born and domiciled within the

United States” are citizens (emphasis added) (quotation omitted)); Mark

Shawhan, Comment, The Significance of Domicile in Lyman Trumbull’s
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Conception of Citizenship, 119 Yale L.J. 1351, 1352-53 (2010) (quoting Letter

from Sen. Lyman Trumbull to President Andrew Johnson (in Andrew

Johnson Papers, Reel 45, Manuscript Div., Library of Cong.)).

      The Civil Rights Act of 1866—the predecessor to the Citizenship

Clause—was drafted with this difference between American and English

law in mind. Senator Trumbull explained that in drafting the Act he faced

a “difficulty”; namely, he initially considered using the phrase “all persons

born in the United States and owing allegiance thereto” but rejected that

approach because “upon investigation it was found that a sort of allegiance

was due to the country from persons temporarily resident in it.” Cong.

Globe, 39th Cong., 1st Sess. 572 (quotation omitted). The Act’s eventual

language—persons were citizens if they were “not subject to any foreign

power”—addressed this concern. The Citizenship Clause’s use of

affirmative language—being subject to the jurisdiction of the United

States—was not intended to alter this result. See, e.g., id. at 2890 (Senator

Howard proposing language he described as “declaratory of …. the law of

the land already”); id. at 2894 (Senator Trumbull saying “[t]he object to be

arrived at” by the language in the Act and the Clause was “the same”).



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      Against this background, plaintiffs rely heavily on Lynch v. Clarke, 1

Sand. Ch. 583 (N.Y. Ch. 1844), but overstate its importance. Julia Lynch

was born during the four years her parents spent in the United States, and

a low-ranking New York judge concluded she was a citizen at birth under

the English common-law rule. Id. at 587, 640-46, 655. But there is little

indication that Lynch reflected a universal view, much less one

incorporated wholesale into the Citizenship Clause.2 As David Dudley

Field observed, Lynch “seems not to be entirely approved” and “probably

would at the most be considered as authority only in regard to the right of

succession to real property within that State.” David Dudley Field,

Outlines of an International Code 132 n.1 (2d ed. 1876). When New York

judges were later faced with the inverse of Lynch—a child born to

Americans temporarily abroad—they divided on whether the child was

also a citizen of the foreign country. Wurman, supra, at 28-29 (discussing

Ludlam v. Ludlam, 31 Barb. 486, 503 (N.Y. Gen. Term. 1860), aff’d, 26 N.Y. 356

(1863)). Nor was Lynch the test that New York applied to all of its


      2 Sources applying English law from the “Founding era,” Br. 22, or

pre-revolutionary “colonial period,” Br. 23, are not probative of post-
revolutionary practices, particularly the practices and attitudes prevalent
nearly a century later, in the 1860s.
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inhabitants, notably tribal Indians. See Goodell, 20 Johns. 693. Given that

the debates about the phrase “subject to the jurisdiction thereof” focused

on Indian citizenship, Lynch unsurprisingly played almost no role in those

debates, being mentioned only once, by a “minor player” who

mischaracterized the decision, Lash, supra, at 20-21, 44-45.3

      When the Citizenship Clause was being ratified, Congress was

criticizing the mode of reasoning employed in Lynch—that “everything that

was law in England before, was law in America after the Revolution”—as

having “no just foundation,” and in particular objecting to American

courts’ acceptance of the English common law’s “obsolete claim of

inalienable allegiance.” Rep. of H. Comm. on Foreign Affairs Concerning the

Rights of American Citizens in Foreign States, in Cong. Globe, 40th Cong., 2nd

Sess. app. at 94, 99 (1868). Just weeks after the Fourteenth Amendment was


      3 Plaintiffs identify (at 34-35) other cases they claim adopt their

interpretation, but none are reasoned and most are consistent with the
government’s position and, in any event, dicta. Two children had a U.S.-
citizen parent. Perkins v. Elg, 307 U.S. 325, 327 (1939) (father); Brief for the
Appellant at 3-4, Vance v. Terrazas, 444 U.S. 252 (1980) (No. 78-1143), 1979
WL 213802, at *3-4 (mother). Another involved a family apparently
domiciled here. Nishikawa v. Dulles, 356 U.S. 129, 131 (1958). Others focus
on different situations, like birth abroad and expatriation. See, e.g., Rogers
v. Bellei, 401 U.S. 815, 830 (1971).

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ratified, Congress passed the Expatriation Act of 1868, forcefully

repudiating the English doctrine of inalienable allegiance to one’s birth

country as incompatible with “the enjoyment of the rights of life, liberty,

and the pursuit of happiness.” Act of July 27, 1868, ch. 249, § 1, 15 Stat. 223,

223.

       The plaintiffs concede that the Citizenship Clause departs from the

English common-law rule to include at least some “American

invention[s].” Br. 26. Elk and Wong Kim Ark acknowledged that the Clause

departed from the English rule in how it treated Indians. The New Jersey

Supreme Court in Benny v. O’Brien, 32 A. 696—which Wong Kim Ark quoted

favorably, 169 U.S. at 692-93, but plaintiffs ignore—similarly recognized

that America departed in how it treated non-domiciled aliens. The court

reasoned that the Civil Rights Act and Citizenship Clause make clear that

some aliens’ children are not citizens because they are “subject to [a]

foreign power.” Benny, 32 A. at 697. The “[p]ersons intended to be

excepted,” the court explained, are “those born in this country of foreign

parents who are temporarily traveling here” because “[s]uch children are,

in theory, born within the allegiance of the sovereign power to which they

belong.” Id. at 698. By contrast, for people who settled here and raised
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their children here—i.e., became “domiciled here”—“it is clear that it will

never be conceded by our government that such persons are subject to any

foreign power” because they are instead “subject to the jurisdiction of the

United States.” Id. at 697-98.

      Plaintiffs underscore their misunderstanding of domicile in arguing

(at 36) that foreigners domiciled here lack sufficient allegiance under the

government’s theory; as we explained, see Gov’t Br. 20-22, a person

domiciled here is subject to the complete “political jurisdiction” of the

United States, Wong Kim Ark, 169 U.S. at 693, even if they remain citizens of

another nation (as Wong’s parents were). Similarly, their misplaced

criticism (at 36) that domicile focuses on the parent and not the child fails

to grapple with the well-understood rule that a newborn’s domicile was

that of their parents. See Gov’t Br. 21-22. And their argument (at 46) that

“legal capacity to establish domicile” is irrelevant fails to grapple with the

extensive historical tradition of legal barriers to establishing domicile, see

Gov’t Br. 36-37 (quotation omitted).




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      D. Plaintiffs’ Statutory Claim Fails Because the Statute Has
         the Same Meaning as the Citizenship Clause.

      Plaintiffs argue that even if the Executive Order reflects the original

meaning of the Citizenship Clause, this Court should nonetheless affirm

because the 1940 and 1952 enactment of 8 U.S.C. § 1401 and its precursor

codified their interpretation of the Fourteenth Amendment, which they

assert (at 48) was “universally understood” at the time.

      Plaintiffs, however, point to no “well-settled” interpretation, Kemp v.

United States, 596 U.S. 528, 539 (2022) (quotation omitted), necessary to

overcome the general rule that similarly worded legal instruments should

be read to have the same meaning, see Cochise Consultancy, Inc. v. United

States ex rel. Hunt, 587 U.S. 262, 268 (2019).4 As discussed, the weight of

legal authority in the decades after Wong Kim Ark recognized that the

decision was limited to children born to individuals domiciled in the

United States and did not extend to the children of temporary visitors. In

contrast to the numerous authorities advancing this reading between 1898



      4 Plaintiffs’ suggestion (at 53) that the government’s Supreme Court

stay application made a concession about the 1940 or 1952 understanding
of the phrase “subject to the jurisdiction thereof” is baseless. The filing
merely acknowledged that at some point during the 20th century, the
Executive Branch adopted plaintiffs’ interpretation.
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and 1952, see Gov’t Br. 32-33, 46-47, plaintiffs identify relatively few

adopting their interpretation. And as noted above, at least one of their

sources from the relevant time period, Flournoy’s Yale Law Journal article,

acknowledges that it is challenging the consensus view. Flournoy, supra, at

552.

       Plaintiffs cite a report by the Roosevelt Administration that

accompanied the bill Flournoy helped draft and Executive Branch practice

after 1940 to urge that Congress intended to reject any requirement of

domicile (Br. 48-52), but neither is particularly probative about whether the

disagreement identified by Flournoy had resolved into a consensus on that

issue.5 To the contrary, the continued disagreement between the Executive

Branch’s position and contemporaneous treatises strongly suggests it had

not. See Sidney Kansas, Immigration and Nationality Act Annotated 183 (4th

ed. 1953) (describing the statute as excluding “children of … transients or

visitors”). Plaintiffs’ show, at most, that the issue remained a contested

one—not that there was a “well-settled” meaning incorporated into the


       5 Plaintiffs also (at 49-50) take Representative Dickstein’s statement

out of context to imply he said all children born of alien parents are
citizens, when the statement merely implied that some of those children
were citizens. See 86 Cong. Rec. 11,944 (1940).
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statute. Even a treatise that agreed with the Administration’s

interpretation acknowledged the unsettled nature of the issue, stating that

“at the present time” “the State Department is not” “disposed to raise a

distinction based upon the domicile of the parents,” while acknowledging

that all of the case law involved aliens domiciled here. 2 Charles Cheney

Hyde, International Law § 344 & n.7 (2d rev. ed. 1947) (emphasis added).

      Apparently divergent views were reached, for example, about the

status of a child born to parents awaiting admission at Ellis Island.

Compare The Nationality Act of 1940, 54 Harv. L. Rev. 860, 861 (1941)

(concluding they were not citizens), with 3 Green Hayword Hackworth,

Digest of International Law § 221, at 10 (1942) (reporting, after passage of the

1940 statute, earlier State Department memorandum concluding that one

such person was a citizen). Even Clement L. Bouvé, who argued that aliens

here illegally should be covered by the Fourteenth Amendment, identified

no case law supporting his position, and rejected the plaintiffs’ position

that mere presence was enough, instead requiring “residence or domicile.”




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See Clement L. Bouvé, A Treatise on the Laws Governing the Exclusion and

Expulsion of Aliens in the United States 425-27 (1912).6

      Finally, even if plaintiffs were able to show a well-settled meaning of

“subject to the jurisdiction thereof,” their facial claim would fail because

many individuals covered by the Executive Order would not be “in the

United States” as that term was understood in 1940 and 1952. The

Supreme Court’s decisions in Kaplan v. Tod, 267 U.S. 228, 230 (1925); United

States v. Ju Toy, 198 U.S. 253, 263 (1905); and Nishimura Ekiu v. United States,

142 U.S. 651, 661 (1892), had created a well-understood rule that parents

who had not been legally admitted into the United States “were not within

the United States” and thus would not fall within the statutes. The

Nationality Act of 1940, supra, at 861 n.8. Therefore, even if the midcentury

understanding of 8 U.S.C. § 1401(a)’s requirement to be born “subject to the

jurisdiction” of the United States could help plaintiffs, the midcentury




      6 Plaintiffs (at 45) quote Bouvé out of context.    After asking whether
violating the immigration laws prevents later-born children from being
citizens, Bouvé answers: “Obviously not, unless the bare legal prohibition
suffices to prevent the parents from acquiring a residence or domicile—it is
immaterial which—in this country.” Bouvé, supra, at 426 (emphasis added).
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understanding of the second requirement of being “born in the United

States” would defeat their facial challenge.

   II.     The District Court’s Injunctive Relief Is Substantially
           Overbroad.

         As our opening brief explained, and the Supreme Court held, the

district court’s nationwide injunction was inappropriate. Neither relief

beyond the plaintiffs and members of the plaintiff organizations, Trump v.

CASA, Inc., 606 U.S. ___, 2025 WL 1773631, at *11 (June 27, 2025), nor a

prohibition on “developing and issuing public guidance,” id. at *15, were

necessary to provide plaintiffs complete relief.

         The parties’ remaining dispute about the scope of the injunction is

whether injunctive relief for organizational members who have not

established standing exceeds a court’s Article III and equitable powers

when that relief is not otherwise necessary to provide relief to an

individual with standing. See CASA, 2025 WL 1773631, *4 n.2 (declining to

address that argument in the first instance). Based on longstanding legal

and equitable principles, such relief exceeds a court’s power, a conclusion

reinforced by the Supreme Court’s reasoning in CASA.




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      Plaintiffs must establish standing for all the relief they seek. As this

Court explained in Wikimedia Foundation v. National Security Agency, 857

F.3d 193, 216-17 (4th Cir. 2017), that includes standing to justify the scope

of the injunction. When plaintiffs seek a broader injunction giving

“individualized relief” to additional people, each individual seeking relief

must establish standing. Id. For example, if all of CASA’s and ASAP’s

members had been plaintiffs in this lawsuit, each would be required to

establish standing to obtain injunctive relief. See CASA, 2025 WL 1773631,

at *15. Nobody disputes that many members lack Article III standing—the

vast majority likely are not expecting a child and have no plans to have a

child—and that other unidentified members have failed to “affirmatively”

establish their standing. Renne v. Geary, 501 U.S. 312, 316 (1991). The

organizations instead argue (at 59-62) that even though a court would lack

power to issue an injunction providing a remedy to members who have not

established standing if the members had brought their claims directly, the

court can nonetheless grant relief because the individuals are represented

by an organization.

      Plaintiffs misread the Supreme Court’s associational-standing case

law, which does not exempt individuals from normal Article-III-standing
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scrutiny merely by having their claim brought by an association. To the

contrary, the Supreme Court has made clear that associational standing

“does not eliminate or attenuate” the requirements of standing. Warth v.

Seldin, 422 U.S. 490, 511 (1975). Individuals who lack standing and cannot

receive injunctive relief do not cure their problem merely by bringing their

suit through an organization alongside other members with standing.

      Plaintiffs’ cited cases do not support their associational-standing

exemption from ordinary Article III and equitable requirements.

Associations will frequently be able to obtain all the relief they seek while

establishing the standing of a single member because that single member

would themselves be entitled to the full scope of relief. See CASA, 2025 WL

1773631, at *11 & n.12 (explaining that relief granted to one plaintiff may

sometimes “have the practical effect of benefiting nonparties,” but such

effects are “merely incidental” (quotation omitted)). In such cases—

regardless of whether an association is involved—“once the Court

decide[s] that a single party ha[s] standing, it ma[kes] no difference to the

resolution of [the] case whether any other party ha[s] standing.” Wikimedia

Found., 857 F.3d at 217. If one affected member is entitled to relief that

incidentally benefits all the members, then only that one member’s
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standing needs to be established to obtain that relief. The cases plaintiffs

identify do not address or conflict with these principles. See, e.g., Outdoor

Amusement Bus. Ass’n v. Department of Homeland Sec., 983 F.3d 671, 676 (4th

Cir. 2020) (reaching the merits and ruling against the plaintiffs); Parents

Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007)

(remedying a single member’s injury of “being forced to compete in a race-

based system” would require system-wide relief); International Union,

UAW. v. Brock, 477 U.S. 274, 281 (1986) (holding union could “proceed

solely as a representative of those of its members injured by the Secretary’s

policy” (emphasis added)); Hunt v. Washington State Apple Advert. Comm’n,

432 U.S. 333, 342-45 (1977) (considering whether a state-created agency

representing apple growers could assert claims of those growers like a

traditional membership organization); Retail Indus. Leaders Ass'n v. Fielder,

435 F. Supp. 2d 481, 484 n.1 (D. Md. 2006) (issuing declaratory judgment to

only member injured by the challenged state law), aff’d, 475 F.3d 180 (4th

Cir. 2007). The members here would clearly be required to each establish

standing if they had sued directly, and channeling their lawsuit through an

association does not exempt them from this ordinary Article III and

equitable requirement.
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      The Supreme Court’s decision in CASA reinforces these conclusions.

Given “the party-specific principles that permeate our understanding of

equity,” 2025 WL 1773631, at *7, “a court cannot adjudicate directly upon a

person’s right without having him either actually or constructively before

it,” id. (quoting parenthetically Gregory v. Stetson, 133 U.S. 579, 586 (1890)).

While the associational plaintiffs are the named parties, granting equitable

relief to their members requires treating the members as “constructively

before” the court. Given that members who have not established standing

could not obtain relief if they were actually before the court, it makes no

sense to provide relief when they are only constructively before the court.

      Opposing the stay motion in this Court, the organizations argued

that it was “ASAP and CASA, not their members, who are parties to this

case” and so only the organizations’ standing needed to be established and

only the organizations would be bound by the judgment. Opp’n to Stay 19.

As we explained, that is inconsistent with the basic premise of associational

standing where the association lacks a claim of its own; the only claims

such an association can press are “the claims of its members,” Hunt, 432

U.S. at 342, and those members must necessarily be bound by the

adjudication of their claims, see CASA, 2025 WL 1773631, at *9 (explaining
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that in traditional equity practice, absent individuals were bound by a

representative suit). The parties receiving relief are required to establish

their standing for the same reasons that the parties receiving relief are

bound by the judgment: to receive relief from a court of equity, they must

be parties constructively before the court. Traditional equitable principles

limit a court to “provid[ing] complete relief to each plaintiff with standing

to sue.” Id. at *15. The organizations here need no relief for themselves.

They thus seek relief for their members but claim that those members need

not establish, or even be capable of establishing, “standing to sue.” That

approach is untenable and inconsistent both with traditional Article III and

equitable principles and with Supreme Court precedent.




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                             CONCLUSION

      The preliminary injunction should be reversed or, at a minimum,

narrowed.

                                        Respectfully submitted,

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July 2025




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                   CERTIFICATE OF COMPLIANCE

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